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                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                                      MONROE DIVISION


 LLOYD PRICE                                      CIVIL ACTION NO. 3:17-CV-01069

 VERSUS                                           JUDGE TERRY A. DOUGHTY

 WAL-MART LOUISIANA, LLC,
  ET AL.                                          MAG. JUDGE J.H.L. PEREZ-MONTES

                                           JUDGMENT

        For the reasons set forth in this Court’s Ruling,

        IT IS ORDERED, ADJUDGED, AND DECREED that the Motion for Summary

 Judgment [Doc. No. 42] filed by Defendant Coca-Cola Bottling Company United, Inc. is

 DENIED.

        MONROE, LOUISIANA, this 13th day of August, 2018.




                                                      __________________________________
                                                       TERRY A. DOUGHTY
                                                       UNITED STATES DISTRICT JUDGE
